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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

RANDI WEINGARTEN, President,
American Federation of Teachers, AFL-CIO,
et al.,

Plaintiffs,

y No. 19-cv-2056 (DLF)

ELISABETH DEVOS, Secretary, United
States Department of Education, ef al.,

Defendants.

 

 

ORDER
For the reasons stated in the accompanying Memorandum Opinion, it is
ORDERED that the defendants’ Partial Motion to Dismiss, Dkt. 19, is GRANTED IN
PART and DENIED IN PART. It is further
ORDERED that plaintiffs Randi Weingarten and the American Federation of Teachers
are DISMISSED WITHOUT PREJUDICE. It is further

ORDERED that Count IV is DISMISSED.

(DLobreay LFribusle

DABNHBY L. FRIEDRICH
June 22, 2020 United States District Judge
